   4:06-cr-03075-RGK-DLP   Doc # 31   Filed: 12/13/06    Page 1 of 1 - Page ID # 179
                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                                        )           4:04CR3061
           Plaintiff,                   )           4:05CR3017
                                        )           4:06CR3075
     vs.                                )
                                        )               SEALED
KENNETH SLOMINSKI,                      )               ORDER
                                        )
           Defendant.                   )


     IT IS ORDERED:

     1. The joint oral motion of the parties to continue is granted
and the change of plea hearing is continued to January 5, 2007 at
11:30 a.m. before the undersigned magistrate judge in Courtroom 2,
United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska.

     2. The ends of justice will be served by granting such a motion,
and outweigh the interests of the public and the defendant in a speedy
trial, and the additional time arising as a result of the granting of
the motion, the time between today’s date and the anticipated plea of
guilty, shall be deemed excludable time in any computation of time
under the requirements of the Speedy Trial Act, for the reason that
defendant’s counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, the novelty
and complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

     3.    Defendant shall appear for this hearing.

     4. The clerk is directed to file this order under seal and to
provide copies of this order to plaintiff’s counsel and to James R.
Hobbs and W. Brian Gaddy.

     DATED: December 13, 2006.

                                        BY THE COURT:


                                        s/   David L. Piester
                                        United States Magistrate Judge
